
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a5001-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a5009-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5061-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5002-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5201-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5701-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a5501-14.pdf (mistyped character)


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